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                                                                  FILED: June 14, 2016


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                       ___________________

                                           No. 15-4306 (L)
                                       (8:12-cr-00379-TDC-1)
                                       ___________________

         UNITED STATES OF AMERICA

                      Plaintiff - Appellee

         v.

         OLUWASEUN SANYA

                      Defendant - Appellant

                                       ___________________

                                            No. 15-4574
                                       (8:13-cr-00121-TDC-1)
                                       ___________________


         UNITED STATES OF AMERICA

                      Plaintiff - Appellee

         v.

         OLUWASEUN SANYA

                      Defendant - Appellant
Appeal: 15-4306    Doc: 58-1       Filed: 06/14/2016 Pg: 2 of 2
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                                      ___________________

                                        JUDGMENT
                                      ___________________

              In accordance with the decision of this court, the judgments of the district

        court are affirmed.

              This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                               /s/ PATRICIA S. CONNOR, CLERK
